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             Exhibit A
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                 DANIEL JOSEPH SPITZ, M.D.
       ____________________________________________________


ADDRESSES

OFFICE:
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Telephone: (586) 791-6700
Telephone: (313) 806-2002 (direct)
Fax: (586) 791-6701
Email: danspitz@aol.com

HOME:
66 Stephens Road
Grosse Pointe Farms, Michigan 48236
Telephone: (313) 882-2920
Email: danspitz@aol.com


EDUCATION

1991 - 1995              Wayne State University School of Medicine
                         Detroit, Michigan
                         Degree: Doctor of Medicine

1987 - 1991              Albion College
                         Albion, Michigan
                         Degree: Bachelor of Arts
                         Major: Biology

August - December 1989   Tulane University
                         New Orleans, Louisiana
                         (Semester Program)


POSTGRADUATE TRAINING

2000 - 2001        Forensic Pathology Fellow, Office of the Medical Examiner
                   Miami-Dade County, Florida




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1996 - 2000            Resident, Department of Pathology (Anatomic &
                       Clinical Pathology)
                       Rush Presbyterian-St. Luke's Medical Center
                       Chicago, Illinois

1995 - 1996            Surgical Internship, Department of General Surgery
                       Rush Presbyterian-St. Luke's Medical Center
                       Chicago, Illinois


BOARD CERTIFICATION

November 2001          American Board of Pathology, Forensic Pathology

September 2000         American Board of Pathology, Anatomic Pathology
                       & Clinical Pathology

September 1997         National Board of Medical Examiners


ACCREDITATION

June, 2014 - Present   Full Accreditation, National Assoc. of Medical Examiners (NAME)
                       Macomb County Medical Examiner’s Office
                       Macomb County, Michigan


CURRENT MEDICAL EXAMINER and ACADEMIC APPOINTMENTS

2004 - Present         Chief Medical Examiner & Chief Forensic Pathologist
                       Office of the Medical Examiner
                       Macomb County, Michigan

2006 - Present         Chief Medical Examiner, Office of the Medical Examiner
                       St. Clair County, Michigan

2022 – Present         Deputy Medical Examiner, Office of the Medical Examiner
                       Saginaw County, Michigan

2004 - Present         Clinical Assistant Professor
                       Department of Pathology, Wayne State University School of
                       Medicine
                       Detroit, Michigan




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2005 - Present     Clinical Assistant Professor
                   Department of Fundamental and Applied Sciences, Wayne State
                   University
                   Detroit, Michigan

2006 - Present     Staff Physician, Department of Pathology
                   McLaren Hospital, Port Huron
                   Port Huron, Michigan

2008 - Present     Adjunct Faculty / Instructor
                   Macomb Community College
                   Warren, Michigan

2009 - 2020        Clinical Educator
                   Michigan State University School of Medicine
                   East Lansing, Michigan


CONSULTING POSITIONS

2006 – 2020        Medicolegal and Forensic Science Consultant
                   MSNBC, CNN, CNN Headline News, Court TV, Fox News Channel
                   New York, New York and Atlanta, Georgia

2009 – 2020        Forensic Pathology and Forensic Science Consultant
                   CSI (Crime Scene Investigation) and CSI Miami, CBS Television
                   Network
                   Los Angeles, California


PREVIOUS MEDICAL EXAMINER APPOINTMENTS

2001 - 2004        Associate Medical Examiner, Medical Examiner Department
                   Hillsborough County, Florida

2001 - 2004        Associate Director, Forensic Pathology Fellowship Training
                   Program
                   Hillsborough County, Florida

2003 - 2004        Associate Medical Examiner, District 12 Medical Examiner
                   Department
                   Sarasota, Manatee and DeSoto Counties, Florida
2000 - 2001        Associate Medical Examiner, Medical Examiner Department
                   Miami-Dade County, Florida




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OTHER PREVIOUS APPOINTMENTS

2010 - 2013           Clinical Laboratory Director, Health Department
                      St. Clair County, Michigan

2004 - 2005           Forensic Science Instructor, Criminal Justice Department
                      St. Petersburg College, St. Petersburg, Florida

2001 - 2004           Assistant Professor of Pathology and Laboratory Medicine
                      University of South Florida, College of Medicine
                      Tampa, Florida

1999 - 2000           Chief Resident, Department of Pathology
                      Rush Presbyterian-St. Luke’s Medical Center
                      Chicago, Illinois

1998 - 2000           Staff Pathologist, Christ Hospital and Medical Center
                      Oak Lawn, Illinois

1998 - 2000           Research Associate, Rush Alzheimer's Disease Center
                      Chicago, Illinois

1997 - 2000           Pathology Laboratory Instructor, Rush Medical College
                      Chicago, Illinois

August 1987           Recovery Team, Northwest Airlines Plane Crash -
                      Flight 255
                      Detroit, Michigan


MEDICAL LICENSES

•   Michigan: 4301081020 - 2002 to present
•   Florida: ME 82382 - 2001 to present
•   Illinois: 36-096963 - 1996 - 2003 (Inactive Status)


EDITORIAL BOARD of EDITORS

2005 - 2018         American Journal of Forensic Medicine and Pathology
                    Philadelphia, Pennsylvania

COMMITTEE APPOINTMENTS

2006 - Present        Anatomic Pathology Assistant Program, Advisory Committee
                      Wayne State University, Detroit, Michigan




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2005 - Present       Michigan Child Death Review, Consultant
                     St. Clair County, Michigan

2004 - Present       Michigan Child Death Review, Consultant
                     Macomb County, Michigan

2002 - 2004          Pathology Residency Committee, University of South
                     Florida College of Medicine
                     Tampa, Florida

2002 - 2004          Florida Child Protection Team, Consultant
                     Hillsborough County, Florida

2002 - 2004          Disciplinary Hearing Officer
                     Hillsborough County, Florida

1997 - 2000          Admissions Committee, Rush Medical College
                     Chicago, Illinois

1997 - 2000          Surgical Procedure Review Committee, Rush
                     Presbyterian - St. Luke's Medical Center
                     Chicago, Illinois


AWARDS / ACHIEVEMENTS

May, 2009            Distinguished Service Award, Port Huron Police
                     Department

January, 2009        Featured Medical Examiner – Dead Men Talking
                     Three Part Documentary Series - MSNBC Cable Network


INVITED LECTURES / PANEL DISCUSSIONS / SEMINARS

•   Forensic Pathology and Investigation of Death: Michigan Society for
    Respiratory Care Spring Conference, Dearborn, Michigan, April 15, 2016

•   Role of the Medical Examiner: Gift of Life 6th Annual Transplant
    Symposium, Ann Arbor, Michigan, March 18, 2016
•   Forensic Investigation of Fire Deaths: St. Clair County Fire Training
    Seminar, Port Huron, Michigan, January 17, 2015

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 2, 2014




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•   Forensic Pathology and Scene Investigation: Detective Training Seminar,
    Mt. Clemens, Michigan, March 26, 2014

•   Child Deaths; Investigation Approach and Pitfalls: Macomb County Sheriff
    Department, Mt. Clemens, Michigan, October 25, 2013

•   Wound Pattern Recognition and Injury Analysis: Wayne State University
    Dept. of Fundamental and Applied Sciences, Detroit, Michigan, July 14,
    2013

•   Forensic Pathology – Application for First Responders, Training Series, St.
    Clair Shores Fire Department, St. Clair Shores, Michigan, May 28, 2013

•   Infant and Child Death Investigation: CTC Training Specialties, Clinton
    Township, Michigan, October 9, 2012

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 18, 2012

•   Asphyxiation, Rape, Homicide: 35th Annual Medicolegal Investigation of
    Death Seminar, Detroit, Michigan, May 4, 2012

•   Forensic Case Presentation: 35th Annual Medicolegal Investigation of Death
    Seminar, Detroit, Michigan, May 3, 2012

•   Death Investigation in Michigan-What All Residents Should Know: Grosse
    Pointe Crisis Club, February 16, 2012

•   Forensic Pathology and Duties of Medical Examiner: Wake-Up Wednesday,
    Grosse Pointe Yacht Club, Grosse Pointe, Michigan, December 14, 2011
•   Death Investigation, Injury Analysis and Evidence Collection for First
    Responders: Southwest Michigan 3rd Annual Botsford Hospital EMS Expo,
    Novi, Michigan, October 12, 2011

•   Asphyxiation, Rape, Homicide: 35th Annual Medicolegal Investigation of
    Death Seminar, Detroit, Michigan, May 6, 2011

•   Forensic Case Presentation: 35th Annual Medicolegal Investigation of Death
    Seminar, Detroit, Michigan, May 5, 2011

•   Wound Pattern Recognition and Injury Analysis: Wayne State University
    Dept. of Fundamental and Applied Sciences, Detroit, Michigan, July 14,
    2010




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•   Medical Examiner Scene Investigator (MESI) Training Program, St. Clair
    County: Course Director, Port Huron Hospital, Port Huron, Michigan, May,
    2010

•   Interpretation of Patterned Injuries: Sexual Assault Nurse Examiner (SANE)
    Seminar, Mt. Clemens, Michigan, April 28, 2010

•   Rape/Homicide and Collection of Evidence: 34th Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 21, 2010

•   Interpretation of Injuries Caused by Firearms, 34th Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 22, 2010

•   Forensic Pathology and Death Investigation, Science Seminar,
    Grosse Pointe North High School, Grosse Pointe, Michigan, December 17,
    2009

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 19, 2009

•   Forensic Pathology and Death Investigation, Science Seminar,
    Grosse Pointe North High School, Grosse Pointe, Michigan, May 20, 2009

•   Forensic Pathology and Medical Examiners: What the Public Needs to Know,
    4th Annual Crime Victims’ Rights Week Seminar, Clinton Township,
    Michigan, April 30, 2009

•   Interpretation of Injuries Caused by Firearms, 33rd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 24, 2009
•   Rape/Homicide and Collection of Evidence: 33rd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 24, 2009

•   Investigation of Deaths in Childhood - From SIDS to Shaking: 33rd Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 23,
    2009

•   Interpretation of Gunshot Wound and Sharp Force Injuries: Department of
    Pathology, Wayne State University School of Medicine, Detroit, Michigan,
    April 7, 2008

•   Introduction to Forensic Pathology-Wound Pattern Recognition: Basic
    Detective School, Oakland Police Academy, Auburn Hills, Michigan, March
    27, 2009


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•   Interpretation of Patterned Injuries: Sexual Assault Nurse Examiner (SANE)
    Seminar, Mt. Clemens, Michigan, January 13, 2009

•   Rape-Homicide and Collection/Interpretation of Evidence: 3rd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, January 7,
    2009

•   Interpretation of Injuries Caused by Firearms, 3rd Annual Medicolegal
    Investigation of Death Seminar, Las Vegas, Nevada, January 7, 2009

•   Investigating Deaths in Childhood – From SIDS to Shaking: 3rd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, January 6,
    2009

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 21, 2008

•   Insights into the Diagnosis of Cause of Death: Innovations in Emergency
    Medicine (Beaumont Hospital), Beverly Hills, Michigan, October 24, 2008

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 9, 2008

•   Investigation of Deaths in Childhood - From SIDS to Shaking: 32nd Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 23,
    2008

•   Rape/Homicide and Collection of Evidence: 32nd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 25, 2008

•   Interpretation of Gunshot Wound and Sharp Force Injuries: Department of
    Pathology, Wayne State University School of Medicine, Detroit, Michigan,
    April 7, 2008

•   Investigation Drowning Deaths: Continuing Education, Sterling Heights
    Fire Department, Sterling Heights, Michigan, March 11, 2008

•   A Day in the Life of a Forensic Pathologist: American Academy of Forensic
    Sciences, Student Academy, 60th Anniversary Meeting, Washington DC,
    February 19, 2008




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•   Recognizing Child Abuse: What Schools and Educators Need to Know: Child
    Protection Law Workshop (Panel Discussion), Macomb Intermediate School
    District, Clinton Township, Michigan, February 8, 2008

•   Rape-Homicide and Collection/Interpretation of Evidence: 2nd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, December
    7, 2007

•   Case Review in Drowning Deaths and Bodies Recovered from Water: 2nd
    Annual Medicolegal Investigation of Death Seminar, Las Vegas, Nevada,
    December 6, 2007

•   Investigation of Deaths in Childhood: From SIDS to Shaking: Pediatric
    Pathology Department, Children’s Hospital of Michigan, Detroit, Michigan,
    November 30, 2007

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 16, 2007

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, September 30, 2007

•   Wound Pattern Recognition: An Introduction to Forensic Pathology and
    Injury Analysis: Wayne State University Dept. of Fundamental and Applied
    Sciences, Detroit, Michigan, July 18, 2007

•   Investigation and Analysis of Firearm Wounds: 31st Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 27, 2007

•   Introduction to Forensic Pathology: Department of Pathology, Wayne State
    University, Detroit, Michigan, January 26, 2007

•   Investigation of Deaths in Childhood: From SIDS to Shaking (Part 2):
    Pediatric Pathology Department, Children’s Hospital of Michigan, Detroit,
    Michigan, December 15, 2006

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 1st Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, November
    30, 2006

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 1st
    Annual Medicolegal Investigation of Death Seminar, Las Vegas, Nevada,
    November 30, 2006


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•   Investigation of Deaths in Childhood: From SIDS to Shaking (Part 1):
    Pediatric Pathology Department, Children’s Hospital of Michigan, Detroit,
    Michigan, November 17, 2006

•   Injury Analysis and Wound Pattern Recognition: Forensic Nurse Examiners
    Conference, Warren, Michigan, November 2, 2006

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, October 1, 2006

•   Wound Pattern Recognition: An Introduction to Forensic Pathology and
    Injury Analysis: Wayne State University, Department of Fundamental and
    Applied Sciences, Detroit, Michigan, June 27, 2006

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, May 31, 2006

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 30th Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 28,
    2006

•   Wound Pattern Recognition and Analysis: National Legal Aid and Defender
    Association: Life in the Balance, Philadelphia, Pennsylvania, March 5, 2006

•   Forensic Case Consultation – Panel Discussion: National Legal Aid and
    Defender Association: Life in the Balance, Philadelphia, Pennsylvania,
    March 5, 2006

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, Philadelphia, Pennsylvania,
    March 6, 2006

•   Wound Identification and Pattered Injuries: Sexual Assault Nurse Examiner
    Conference, Macomb County Community College, January 18, 2006

•   Gunshot Wounds: What Do They Tell Us? Georgia Public Defender
    Standards Council, Forensic Science Seminar, Atlanta, Georgia, November
    9, 2005

•   Drowning and Bodies Recovered from Water; Solving the Puzzle: Michigan
    Association of Medical Examiners, Annual Meeting, Mt. Pleasant, Michigan,
    October 30, 2005




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•   Death Investigation and Wound Pattern Analysis: Michigan Police Academy
    Detective Training, Oakland County Community College, October 27, 2005

•   Postmortem Changes: Recognizing Injury v. Artifact: 12th Annual Medicolegal
    Death Investigation Conference, Collinsville, Illinois, August 17, 2005

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 12th
    Annual Medicolegal Death Investigation Conference, Collinsville, Illinois,
    August 17, 2005

•   Interpretation of Gunshot Wounds and Sharp Force Injuries. 12th Annual
    Medicolegal Death Investigation Conference, Collinsville, Illinois, August 17,
    2005

•   Wound Pattern Recognition: An Introduction to Injury Analysis: Wayne State
    University Dept. of Fundamental and Applied Sciences, Detroit, Michigan,
    June 28, 2005

•   Child Abuse: Interpretation of Injuries and Distinction from Natural and
    Accidental Deaths: Pediatric Sexual Assault Nurse Examiner Training
    Seminar, Fraser, Michigan, May 19, 2005

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 29th Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 21,
    2005

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 29th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 20, 2005

•   Interpretation of Forensic Evidence: National Legal Aid and Defender
    Association: Life in the Balance, New Orleans, Louisiana, March 20, 2005

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, New Orleans, Louisiana, March
    20, 2005
•   Forensic Case Consultation: National Legal Aid and Defender Association:
    Life in the Balance, New Orleans, Louisiana, March 20, 2005

•   Forensic Case Analysis: St. Clair County, Medical Examiner Scene
    Investigator Conference, Marysville, Michigan, February 22, 2005

•   Injury Analysis and Wound Pattern Recognition: Forensic Nurse Examiners
    Conference, Warren, Michigan, January 17, 2005


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•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, October 10, 2004

•   Interpretation of Gunshot and Shotgun Wounds: St. Clair County Forensic
    Training Seminar, Marysville, Michigan, October 7, 2004

•   Thermal Injuries and Bodies Recovered From Water: St. Clair County
    Forensic Training Seminar, Marysville, Michigan, October 7, 2004

•   Investigation of Deaths in Childhood: St. Clair County Forensic Training
    Seminar, Marysville, Michigan, October 6, 2004

•   Forensic Pathology and Interpretation of Wound Patterns: 11th Annual
    International Homicide Investigators Association, Clearwater, Florida,
    August 2, 2004

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, June 6, 2004

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 28th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 23, 2004

•   Drowning and Bodies In Water: University of South Florida, Department of
    Pathology, Tampa, Florida, April 15, 2004

•   Interpretation of Blunt Trauma and Sharp Force Injuries: 18th Annual
    Medicolegal Investigation of Death Seminar, Morgantown, West Virginia,
    March 27, 2004

•   Interpretation of Injuries due to Firearms: 18th Annual Medicolegal
    Investigation of Death Seminar, Morgantown, West Virginia, March 27,
    2004

•   Understanding the State’s Pathology Witness: National Legal Aid and
    Defender Association: Life in the Balance, Memphis, Tennessee, March 15,
    2004

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, Memphis, Tennessee, March 14,
    2004




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•   Forensic Evidence Collection and Interpretation: The Role of the Medical
    Examiner: Tampa Bay Area Chiefs of Police, Annual Forensic Science
    Seminar, Tampa, Florida, March 5, 2004

•   Injury Pattern Recognition and Interpretation: Death is Different, Florida
    Association of Criminal Defense Attorneys, 10th Annual Death Penalty
    Seminar, Palm Beach, Florida, February 21, 2004

•   Medicolegal Aspects of Death Investigation: St. Petersburg College,
    Southeastern Public Safety Institute, St. Petersburg, Florida, October 22,
    2003

•   Forensic Pathology and Death Investigation: University of South Florida,
    Medical Student Colloquium, Tampa, Florida, October 16, 2003

•   Interpretation of Gunshot Wounds: University of South Florida, Department
    of Pathology, Tampa, Florida, September 18, 2003

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, May 25, 2003

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 27th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 4, 2003

•   Interpretation of the Autopsy Report - Understanding the State’s Pathology
    Witness: National Legal Aid and Defender Association: Life in the Balance,
    Austin, Texas, March 18, 2003
•   Evaluating Gunshot Wounds and Sharp Force Injuries: National Legal Aid
    and Defender Association: Life in the Balance, Austin, Texas, March 18,
    2003

•   Drowning and Bodies In Water: University of South Florida, Department of
    Pathology, Tampa, Florida, March 13, 2003

•   Gunshot Wound Evaluation: University of South Florida, Department of
    Pathology, Tampa, Florida, October 10, 2002

•   Patterns of Injury in Trauma: 6th Annual Trauma Symposium, Tampa,
    Florida, May 17, 2002

•   Introduction to Forensic Pathology: National Defender Investigator
    Association, Portland, Oregon, April 18, 2002




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•   Investigation of Drowning Deaths and Bodies Recovered from Water: 26th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 8, 2002


SCIENTIFIC PUBICATIONS

BOOKS

•   Reddy V, David O, Spitz DJ, Haber MH. Gattuso’s Differential Diagnosis in
    Surgical Pathology, 4th Edition. Elsevier, Inc. New York, New York, 2022.

•   Gattuso P. Reddy V, David O, Spitz DJ, Haber MH. Differential Diagnosis
    in Surgical Pathology, 3rd Edition. Elsevier, Inc. New York, New York, 2015.

•   Spitz WU, Spitz DJ. Medicolegal Investigation of Death, 4th Edition. Charles
    C. Thomas, Springfield, Illinois, 2006.

•   Gattuso P. Reddy V, David O, Spitz DJ, Haber MH. Differential Diagnosis
    in Surgical Pathology, 2nd Edition. W.B. Saunders Company, New York, New
    York, 2010.

•   Haber MH, Gattuso P, Spitz DJ, David O. Differential Diagnosis in Surgical
    Pathology. W.B. Saunders Company, New York, New York, 2002.


BOOK CHAPTERS

•   Diegel R, Henry T, Spitz DJ. Wound Identification and Documentation in
    Atlas of Sexual Violence. Elsevier, St. Louis, Missouri, 2013.

•   Spitz DJ. Investigation of Bodies in Water in Spitz and Fisher’s Medicolegal
    Investigation of Death, 4th Edition. Charles C. Thomas, Springfield, Illinois,
    2006.

•   Platt MS, Spitz DJ, Spitz WU. Investigation of Deaths in Childhood: The
    Abused Child and Adolescent in Spitz and Fisher’s Medicolegal Investigation
    of Death, 4th Edition. Charles C. Thomas, Springfield, Illinois, 2006.

•   Spitz WU, Spitz DJ. Investigation of Deaths in Childhood: Feticide and
    Neonaticide in Spitz and Fisher’s Medicolegal Investigation of Death, 4th
    Edition. Charles C. Thomas, Springfield, Illinois, 2006.




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•   Spitz DJ. History and Development of Forensic Medicine and Pathology in
    Spitz and Fisher’s Medicolegal Investigation of Death, 4th Edition. Charles C.
    Thomas, Springfield, Illinois, 2006.

•   Spitz DJ. Identification of Human Remains in Spitz and Fisher’s
    Medicolegal Investigation of Death, 4th Edition. Charles C. Thomas,
    Springfield, Illinois, 2006.

•   Spitz DJ, Yocom J, Reddy VB. Heart, Pericardium and Blood Vessels in
    Differential Diagnosis in Surgical Pathology. W.B. Saunders Company, New
    York, New York, 2002.

•   Spitz DJ, Gattuso P. Ureter, Urinary Bladder and Kidney in Differential
    Diagnosis in Surgical Pathology. W.B. Saunders Company, New York, New
    York, 2002.

•   Spitz DJ, Cochran EJ. Central Nervous System in Differential Diagnosis in
    Surgical Pathology. W.B. Saunders Company, New York, New York, 2002.

•   Pins MR, Betlej TM, Dysico G, Spitz DJ. Male Genitourinary System in
    Differential Diagnosis in Surgical Pathology. W.B. Saunders Company, New
    York, New York, 2002.

•   Spitz DJ, Gattuso P. Breast in Differential Diagnosis in Surgical Pathology.
    W.B. Saunders Company, New York, New York, 2002.

•   Kapur S, Spitz DJ, Reddy VB. Soft Tissue in Differential Diagnosis in
    Surgical Pathology. W.B. Saunders Company, New York, New York, 2002.

•   Spitz DJ, Gattuso P. Adrenal Gland in Differential Diagnosis in Surgical
    Pathology. W.B. Saunders Company, New York, New York, 2002.


ORIGINAL ARTICLES

•   Mateju E, Duchanova S, Kovac P, Moravansky N, Spitz DJ. Fatal Case of
    Rapunzel Syndrome in Neglected Child. Forensic Science International,
    190:5-7, July 2009.

•   Kovac P, Moravansky N, Spitz DJ. Child Abuse and Neglect, Minimum for
    Primary Care Pediatrician. Practical Pediatrics, 1:49-51, January 2009.




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•   Duer WC, Spitz DJ, McFarland, S. Relationships between Concentrations of
    Cocaine Hydrolysates in Peripheral Blood, Heart Blood, Vitreous Humor and
    Urine. Journal of Forensic Sciences, (51)2:421-425, March 2006.

•   Spitz DJ, Prator PC, Stratton JE, Labiste L, Augenstein JS, Mackinnon J,
    Phillips J, Singer M, Perdeck E. Neck and Cervical Spine Injuries Caused by
    Automatic Two-Point Shoulder Restraints: An Analysis of 4 Cases. Journal
    of Forensic Sciences, 50(1):159-163, January 2005.

•   Spitz DJ, Ouban A. Meningitis Following Gunshot Wound of the Neck.
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•   Spitz DJ. An Unusual Death in an Asthmatic. The American Journal of
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•   Spitz DJ, Adams VI. Medical Investigation of Pedestrian Deaths. American
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    No. 2, ISSN-1056-5922, May 2002.

•   Spitz DJ. Drowning and Near-Drowning: Pathophysiology Associated with
    Freshwater and Saltwater Environments. American Society of Clinical
    Pathologists, Forensic Pathology Check Sample, Vol. 43, No. 3, ISSN-1056-
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•   Hertz G, Reddy VB, Green L, Spitz DJ, Massarani-Wafai R, Selvaggi SM,
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•   Orucevic A, Reddy VB, Bakhos R, Selvaggi SM, Green L, Spitz DJ,
    Bitterman P, Gattuso P. Fine Needle Aspiration of Extranodal and
    Extramedullary Hematopoietic Malignancies. Diagnostic Cytopathology,
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•   Betlej TM, Spitz DJ, DeCresce RP, Webster RA, Geller J, Maturen A.
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    Hormone Assay in Clinical Practice. Clinical Chemistry, 46(6):469, July
    2000.

•   Spitz DJ, Reddy VB, Selvaggi SM, Kluskens L, Green L, Gattuso P. Fine
    Needle Aspiration of Scalp Lesions. Diagnostic Cytopathology, 23(1):35-38,
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•   Spitz DJ, Reddy VB, Kluskens L, Cohen J, Gattuso P. Fine Needle
    Aspiration of Intra and Extraocular Masses. Diagnostic Cytopathology,
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•   Dowlat K, Fan M, Bloom KJ, Spitz DJ, Patel S, Snider H. Occult Metastasis
    in the Sentinel Lymph Nodes of Patients with Early Breast Carcinoma.
    Cancer, 86(6):990-996, September 1999.

•   Gattuso P, Ramzy I, Truong LD, Lanksford KL, Green L, Kluskens L, Spitz
    DJ, Reddy VB. Utilization of Fine Needle Aspiration in the Diagnosis of
    Metastatic Tumors to the Kidney. Diagnostic Cytopathology, 21(1):35-38,
    July 1999.

•   Spitz DJ, Maturen A, Cho BL, Webster RA, Betlej TM, DeCresce RP.
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•   Spitz DJ, Reddy VB, Gattuso P. Fine Needle Aspiration of
    Pseudoangiomatous Stromal Hyperplasia of the Breast. Diagnostic
    Cytopathology, 20(5):323-324, May 1999.

•   Spitz DJ, Reddy VB, Gattuso P. Congenital (Infantile) Myofibromatosis and
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    Children. American Society of Clinical Pathologists, Surgical Pathology
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•   Spitz DJ. Unrecognized Fatal Liver Injury Caused by a Bicycle Handlebar.
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•   Spitz DJ, Spitz WU. Killer Pop Machines. Journal of Forensic Sciences,
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ABSTRACTS

•   Moravansky N, Spitz DJ, Kovac P, Garala P, Holla B. Child Abuse and
    Neglect Syndrome: Aspects of Forensic Investigation. 8th Annual Symposium
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•   Gavala P, Mlynar J. Novomesky F, Morovansky N, Spitz DJ, Kovac P,
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    Conference of Forensic Medicine. Modra-Harmonia, Slovak Republic, May
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•   Moravansky N, Spitz DJ, Kovac P, Garala P, Holla B. Child Abuse and
    Neglect Syndrome: Aspects of Forensic Investigation. 47th Annual Conference
    of Forensic Medicine. Modra-Harmonia, Slovak Republic, May 2007.

•   Bloom, KJ, Anderson J, Assad L, Spitz DJ, Fan M, Dowlat K. Complete
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    and Cytokeratin Immunohistochemistry. United States and Canadian
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•   Dowlat K, Witt TR, Bloom KJ, Fan M, Spitz DJ, Oleske D. Detection of
    Occult Micrometastases by 0.25 mm Sectioning and Cytokeratin Staining of
    Sentinel Nodes in Early Breast Cancer. 36th Annual American Society of
    Clinical Oncology, New Orleans, Louisiana, May 2000.

•   Orucevic A, Reddy VB, Bakhos R, Selvaggi SM, Green L, Spitz DJ,
    Bitterman P, Gattuso P. Fine Needle Aspiration of Extranodal and
    Extramedullary Hematopoietic Malignancies. 47th Annual Scientific Meeting
    of the American Society of Cytopathology, Sacramento, California, November
    1999.

•   Spitz DJ, Reddy VB, Bahkos R, Kluskens L, Green L, Selvaggi SM, Gattuso
    P. Fine Needle Aspiration of Scalp Lesions. 47th Annual Scientific Meeting of
    the American Society of Cytopathology, Sacramento, California, November
    1999.

•   Dowlat K, Fan M, Bloom KJ, Spitz DJ. Sentinel Node Biopsy is Superior to
    Axillary Node Dissection in Staging of Early Breast Cancer. 119th Annual
    American Surgical Association, San Diego, California, April 1999.

•   Dowlat K, Bloom KJ, Fan M, Spitz DJ. Sentinel Node Micrometastases in
    Early Breast Cancer. 21st Annual San Antonio Breast Cancer Symposium,
    San Antonio, Texas, December 1998.

•   Spitz DJ, Reddy VB, Kluskens L, Cohen J, Gattuso, P. Fine Needle
    Aspiration of Intra and Extraocular Masses. American Society of
    Cytopathology, Nashville, Tennessee, November 1998.


PROFESSIONAL MEMBERSHIPS

•   American Academy of Forensic Sciences, 2001 -
•   National Association of Medical Examiners, 2001 -
•   Michigan Association of Medical Examiners, 2004 -
•   American Society of Clinical Pathologists, 2002 - 2010


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•   College of American Pathologists, 1998 - 2005
•   Florida Association of Medical Examiners, 2001 - 2005
•   American Medical Association, 2001 - 2005
•   Florida Medical Association, 2001 - 2004
•   Hillsborough County Medical Association, 2001 - 2004
•   Florida West Coast Association of Pathologists, 2002 - 2004




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                  TESTIMONY LOG - DANIEL J. SPITZ, M.D.


January 22, 2020 – Deposition Testimony
Estate of William H. Frabotta v. Modern Heating and Cooling, et al.
34051 S. Gratiot Avenue, Suite 202
Clinton Township, Michigan
Case Number: 2017-775-NO

January 29, 2020 – Trial Testimony
State of Michigan v. Ronald A. Dimambro, Jr.
Macomb County Circuit Court
40 South Main Street
Mt. Clemens, Michigan
Case Number: 2013-4215-FC

February 10, 2020 – Preliminary Examination
State of Michigan v. Nolan Michael Baca
39th District Court, Macomb County
29733 Gratiot Avenue
Roseville, Michigan
Case Number: 19-008920

February 12, 2020 – Deposition Testimony
Estate of Suzann J. Bott v. McLaren Macomb Hospital
34051 S. Gratiot Avenue, Suite 202
Clinton Township, Michigan
Case Number: 2018-001055-NH

March 5, 2020 – Trial Testimony
Estate of Stephen C. Matasic v. Mercy Health Youngstown, LLC et al.
Cuyahoga County Court of Common Pleas
One Lakeside Avenue
Cleveland, Ohio
Case Number: CV 17 874979

June 3, 2020 – Deposition Testimony (ZOOM)
Estate of Deautry Ross v. City of Torrance
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2:18-cv-03918-MWF-E

June 10, 2020 – Deposition Testimony (ZOOM)
Estate of James Beasley v. Anthony Leggett, Jr. et al.
34051 S. Gratiot Ave., Suite 202


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Clinton Township, Michigan
Case Number: 18-014466-NI

June 24, 2020 – Videoconference Deposition Testimony
Estate of Michael Moir v. Lapeer Aviation et al.
Hanson Court Reporters
48 S. Main Street
Mt. Clemens, Michigan
Case Number: 18-052195 (H)

July 15, 2020 – Preliminary Examination
State of Michigan v. Christopher James Twarowski
37A District Court
83000 Common Road
Warren, Michigan
Case Number: 19-005527

August 6, 2020 – Deposition Testimony (ZOOM)
Estate of Tamonta Hill v. Hurley Medical Center et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18-110912-NH

July 24, 2020 & August 11, 2020 – Deposition Testimony (ZOOM)
Estate of Michael Moir v. Lapeer Aviation, Inc, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18-052195-NO(H)

September 24, 2020 – Deposition Testimony (ZOOM)
Estate of Monnie Washburn v. State of Arizona, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2:19-cv-01546-DLR-MHB

October 14, 2020 – Deposition Testimony (Telephone)
State of Indiana v. Robert Harman, II
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 35C01-1909-MR-274

November 10, 2020 – Preliminary Examination (Via Telephone)
State of Michigan v. Donald John McConnell
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 20P04867FY



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December 17, 2020 – Deposition (ZOOM)
Marcia Sanders v. Lacesha Brintley, MD
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18-015025-NH

February 18, 2021 – Preliminary Examination (ZOOM)
State of Michigan v. Reginald Cu-Nu Grasty
St. Clair County District Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 20P05749FY

March 4, 2021 – Evidentiary Hearing
Estate of Michael Moir v. Lapeer Aviation Inc., et al.
Lapeer County, 40th Circuit Court
255 Clay Street
Lapeer, Michigan
Case Number: 18-052195-NO (H)

March 12, 2021 – Trial Testimony
State of Michigan v. Joshua Bauman
St. Clair County Circuit Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 18-002223-FC

April 16, 2021 – Preliminary Hearing
State of Michigan v. Henry Jermaine Johnson
Clinton Township District Court, 41B
22380 Starks Drive
Clinton Township, Michigan
Case Number: 29-2218SC

April 22, 2021 – Trial Testimony
State of Indiana v. Robert Harman, II
Huntington County Circuit Court
201 N. Jefferson Street
Huntington, Indiana
Case Number: 35C01-1909-MR-274




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May 12, 2021 – Deposition Testimony (ZOOM)
Estate of Jason Wessel v. Henry Ford Health System
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2020-2001-NH

June 4, 2021 – Trial Testimony
State of Michigan v. Marcus D. McLean
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 20-0338-FC

June 24, 2021 – Deposition (ZOOM)
Magee, et al. v. Tuolumne County, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 1:19-cv-01522-AWI-BAM

July 13, 2021 – Preliminary Examination
State of Michigan v. Dustin David Tucker
St. Clair County District Court
201 McMorran Blvd., Port Huron, Michigan
Case Number: 21P03001FY

August 12, 2021 – Deposition (ZOOM)
Estate of Othello Wilson v. Farmington Emergency Medicine Assoc., PLC, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2019-173336-NH

August 27, 2021 – Trial Testimony
State of Michigan v. Albert Louis Donadio
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 19-3592-FH

September 1, 2021 – Trial Testimony (ZOOM)
State of Michigan v. Sara Jo Degroff
St. Clair County Circuit Court
1221 Pine Grove Avenue
Port Huron, Michigan
Case Number: 19-001758




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September 22, 2021 – Trial Testimony
State of Michigan v. Donald John McConnell
St. Clair County Circuit Court
1221 Pine Grove Avenue
Port Huron, Michigan
Case Number: 20-002026-FH

September 29, 2021 – Trial Testimony
Estate of Jennifer Fowler v. Estate of Jennifer Fowler
St. Clair County Circuit Court
1221 Pine Grove Avenue
Port Huron, Michigan
Case Number: 19-001327-NO

October 7, 2021 – Trial Testimony
Marcia Sanders v. L Brintley, MD, PLLC et al.
Coleman A. Young Municipal Center
Courthouse
2 Woodward Avenue
Detroit, Michigan
Case Number: 18-015025-NH

October 20, 2020 – Deposition (ZOOM)
Estate of Alice Borden v. William Beaumont Hospital, et al.
34051 South Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 20-008178-NH

November 4, 2021 – Deposition (ZOOM)
Estate of John Garth Cummings v. Red Arrow Dairy, LLC
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case No. 2019-069194-NO-D

November 19, 2021 – Deposition (ZOOM)
Estate of Derek Love v. City of Chicago, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18-cv-2742

November 22, 2021 – Trial Testimony
Estate of Bobbie Jean Wilson-White v. Gregory V. McIntosh, DO
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: XX-XXXXXXX



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November 24, 2021 – Deposition (ZOOM)
Estate of Aaron Miller v. Angel’s Place
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18-165847

November 30, 2021 – Deposition (ZOOM)
Estate of Lorne Garrett v. Olympia Fields Internal Medicine, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2018 L 3746

December 2, 2021 – Trial Testimony
State of Michigan v. Walter Calvin Franklin
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 19-2809-FC

December 2, 2021 – Trial Testimony
State of Michigan v. Dominic Watson
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 19-3521-FC

December 16, 2021 – Deposition Testimony (ZOOM)
Estate of Melvin Abernathy v. Presence Saint Joseph Medical Center et al.
34051 South Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 18 L 012602

December 20, 2021 – Trial Testimony
State of Michigan v. Michael Anthony Franks, Jr.
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 21-0163-FC

January 13, 2022 - Deposition Testimony
Estate of Jerry B. Johnson v. Junction Buoy
34051 South Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: W 19-002883 NO




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January 25, 2022 – Preliminary Examination
State of Michigan v. Robert Tonchen
St. Clair County District Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 22P00002FY

February 10, 2022 – Deposition Testimony (ZOOM)
Estate of Timothy Rhodeman v. Dani’s Transport, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: XX-XXXXXXX-NI

March 9, 2022 – Trial Testimony
State of Michigan v. Reginald Cu-Nu Grasty
St. Clair County Circuit Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 20P05749FY

April 13, 2022 – Trial Testimony
State of Michigan v. Austin James Hornfisher
St. Clair County Circuit Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 21P06344ST

April 19, 2022 – Trial Testimony
State of Michigan v. Nicholas Raad Bahri
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 21-2220-FC

May 3, 2022 – Trial Testimony
State of Michigan v. Dustin David Tucker
St. Clair County Circuit Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 21-001372-FC




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May 4, 2022 – Trial Testimony
State of Michigan v. James G. Stanich II
St. Clair County Circuit Court
201 McMorran Blvd.,
Port Huron, Michigan
Case Number: 21-000850-FC

May 25, 2022 – Deposition Testimony (via ZOOM)
Estate of Jeanette Turner v. Mercy Hospital & Medical Center
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2018 L 9399

June 7, 2022 – Deposition Testimony (via ZOOM)
Estate of Darrell Tucker v. Stephen Tait, MD et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2019-174962-NH

June 27, 2022 – Trial Testimony
Estate of Aaron Kelly Miller v. Angels’ Place, et al.
Circuit Court, Oakland County
1200 North Telegraph Road, Building 28 East
Pontiac, Michigan
Case Number: 2018-165847-NI

July 13, 2022 – Trial Testimony
State of Michigan v. Stephen Gerard Traskal
St. Clair County Circuit Court
201 McMorran Blvd.
Port Huron, Michigan
Case Number: 21-002187-FC

July 20, 2022 – Trial Testimony
State of Michigan v. Robert Kimin Tonchen
St. Clair County Circuit Court
201 McMorran Blvd.
Port Huron, Michigan
Case Number: 22-000192-FC

July 26, 2022 – Deposition Testimony (via ZOOM)
Estate of Cameron Caldwell v. H&M Citgo, Inc., et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 20-000293-NO




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September 8, 2022 – Trial Testimony
Estate of Stephen C. Matasic v. Mercy Health Youngstown, LLC et al.
Cuyahoga County Court of Common Pleas
One Lakeside Avenue
Cleveland, Ohio
Case Number: CV 17 874979

October 25, 2022 – Deposition Testimony (via ZOOM)
Estate of Lawrence Valiquette v. Pasco Cardiology Center, Inc.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2020-CA-000734

October 27 & 28, 2022 – Trial Testimony
State of Michigan v. Henry Jermaine Johnson
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 21-0928-FC

October 27 & 28, 2022 – Trial Testimony
State of Michigan v. Henry Jermaine Johnson
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 21-0928-FC

November 22, 2022 – Deposition Testimony (via ZOOM)
Estate of Leann E. Rice v. William Beaumont Hospital et al.
34051 S. Gratiot Ave., Suite
Clinton Township, Michigan
Case Number: 21-189545-NH

January 6, 2023 – Deposition Testimony
Estate of Cree Erwin-Sheppard v. Bronson Battle Creek Hospital, et al.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2021-0135

January 12, 2023 – Trial Testimony
State of Michigan v. Dakota J. Blust
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 22-0957-FC




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January 17, 2023 – Trial Testimony (via ZOOM)
State of Alaska v. John Matsuura
34051 Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 1KE-21-745 CR


January 19, 2023 – Deposition Testimony (via ZOOM)
Estate of Richard Hall v. Chad Wilson, Special Events Party Rental & Aaron Lockridge
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 20-015746-NI

January 26, 2023 – Deposition Testimony (via ZOOM)
Estate of Janis Liggons v. Occupational Health Centers of Illinois, P.C.
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2019 L 001391

February 17, 2023 – Trial Testimony
State of Michigan v. Danny Darnell White Jr.
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 22-1202-FC

March 3, 2023 – Trial Testimony
State of Michigan v. Dujuan Dion-Diego Davenport
Macomb County Circuit Court
40 North Main Street
Mt. Clemens, Michigan
Case Number: 21-1395-FC

March 15, 2023 – Preliminary Examination
State of Michigan v. Keywan Toliver
Saginaw County Circuit Court
111 South Michigan Avenue
Saginaw, Michigan
Case Number: 22 004431 FY

March 21, 2023 – Trial Deposition
Estate of Andrea Williams v. Oakdale Residents Consumer Housing Cooperative
34051 S. Gratiot Ave., Suite 202
Clinton Township, Michigan
Case Number: 2021-190910-NO



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                    DANIEL J. SPITZ, M.D.
              FORENSIC PATHOLOGY AND TOXICOLOGY
                          34051 South Gratiot Avenue, Suite 202
                           Clinton Township, Michigan 48035
                                   ****************************

Telephone: (586) 791-6700                                             Email: danspitz@aol.com
Facsimile: (586) 791-6701
Direct: (313) 806-2002



                                     FEE SCHEDULE


       Review of Documents &
       Conference Time ..…………………...………..……...….$ 500.00 per hour


       Deposition …………………………………….…………..$ 2,500.00 (up to 3 hours)
       ** Additional time is billed at $ 750 per hour.



       Written Opinion / Affidavit …………………..…….…..$ 2,000.00



   COURT TESTIMONY

       MICHIGAN (Tri-County Metro Area) …………………..$ 5,500.00 per day


       MICHIGAN (Outside Metro Area) ……………..…….…$ 6,500.00 per day


       OUT OF STATE……………………………………….…..$ 7,500.00 per day


** A retainer fee in the amount of $ 5,000.00 is required prior to being listed. The
   retainer is applicable to all work performed excluding trial and deposition
   testimony.

** Expenses and travel time are additional to the daily testimony rate.
   Actual travel time is billed at the hourly rate.
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             Exhibit B
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                 DANIEL JOSEPH SPITZ, M.D.
       ____________________________________________________


ADDRESSES

OFFICE:
34051 South Gratiot Avenue, Suite 202
Clinton Township, Michigan 48035
Telephone: (586) 791-6700
Telephone: (313) 806-2002 (direct)
Fax: (586) 791-6701
Email: danspitz@aol.com

HOME:
66 Stephens Road
Grosse Pointe Farms, Michigan 48236
Telephone: (313) 882-2920
Email: danspitz@aol.com


EDUCATION

1991 - 1995              Wayne State University School of Medicine
                         Detroit, Michigan
                         Degree: Doctor of Medicine

1987 - 1991              Albion College
                         Albion, Michigan
                         Degree: Bachelor of Arts
                         Major: Biology

August - December 1989   Tulane University
                         New Orleans, Louisiana
                         (Semester Program)


POSTGRADUATE TRAINING

2000 - 2001        Forensic Pathology Fellow, Office of the Medical Examiner
                   Miami-Dade County, Florida




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1996 - 2000            Resident, Department of Pathology (Anatomic &
                       Clinical Pathology)
                       Rush Presbyterian-St. Luke's Medical Center
                       Chicago, Illinois

1995 - 1996            Surgical Internship, Department of General Surgery
                       Rush Presbyterian-St. Luke's Medical Center
                       Chicago, Illinois


BOARD CERTIFICATION

November 2001          American Board of Pathology, Forensic Pathology

September 2000         American Board of Pathology, Anatomic Pathology
                       & Clinical Pathology

September 1997         National Board of Medical Examiners


ACCREDITATION

June, 2014 - Present   Full Accreditation, National Assoc. of Medical Examiners (NAME)
                       Macomb County Medical Examiner’s Office
                       Macomb County, Michigan


CURRENT MEDICAL EXAMINER and ACADEMIC APPOINTMENTS

2004 - Present         Chief Medical Examiner & Chief Forensic Pathologist
                       Office of the Medical Examiner
                       Macomb County, Michigan

2006 - Present         Chief Medical Examiner, Office of the Medical Examiner
                       St. Clair County, Michigan

2022 – Present         Deputy Medical Examiner, Office of the Medical Examiner
                       Saginaw County, Michigan

2004 - Present         Clinical Assistant Professor
                       Department of Pathology, Wayne State University School of
                       Medicine
                       Detroit, Michigan




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2005 - Present     Clinical Assistant Professor
                   Department of Fundamental and Applied Sciences, Wayne State
                   University
                   Detroit, Michigan

2006 - Present     Staff Physician, Department of Pathology
                   McLaren Hospital, Port Huron
                   Port Huron, Michigan

2008 - Present     Adjunct Faculty / Instructor
                   Macomb Community College
                   Warren, Michigan

2009 - 2020        Clinical Educator
                   Michigan State University School of Medicine
                   East Lansing, Michigan


CONSULTING POSITIONS

2006 – 2020        Medicolegal and Forensic Science Consultant
                   MSNBC, CNN, CNN Headline News, Court TV, Fox News Channel
                   New York, New York and Atlanta, Georgia

2009 – 2020        Forensic Pathology and Forensic Science Consultant
                   CSI (Crime Scene Investigation) and CSI Miami, CBS Television
                   Network
                   Los Angeles, California


PREVIOUS MEDICAL EXAMINER APPOINTMENTS

2001 - 2004        Associate Medical Examiner, Medical Examiner Department
                   Hillsborough County, Florida

2001 - 2004        Associate Director, Forensic Pathology Fellowship Training
                   Program
                   Hillsborough County, Florida

2003 - 2004        Associate Medical Examiner, District 12 Medical Examiner
                   Department
                   Sarasota, Manatee and DeSoto Counties, Florida
2000 - 2001        Associate Medical Examiner, Medical Examiner Department
                   Miami-Dade County, Florida




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OTHER PREVIOUS APPOINTMENTS

2010 - 2013           Clinical Laboratory Director, Health Department
                      St. Clair County, Michigan

2004 - 2005           Forensic Science Instructor, Criminal Justice Department
                      St. Petersburg College, St. Petersburg, Florida

2001 - 2004           Assistant Professor of Pathology and Laboratory Medicine
                      University of South Florida, College of Medicine
                      Tampa, Florida

1999 - 2000           Chief Resident, Department of Pathology
                      Rush Presbyterian-St. Luke’s Medical Center
                      Chicago, Illinois

1998 - 2000           Staff Pathologist, Christ Hospital and Medical Center
                      Oak Lawn, Illinois

1998 - 2000           Research Associate, Rush Alzheimer's Disease Center
                      Chicago, Illinois

1997 - 2000           Pathology Laboratory Instructor, Rush Medical College
                      Chicago, Illinois

August 1987           Recovery Team, Northwest Airlines Plane Crash -
                      Flight 255
                      Detroit, Michigan


MEDICAL LICENSES

•   Michigan: 4301081020 - 2002 to present
•   Florida: ME 82382 - 2001 to present
•   Illinois: 36-096963 - 1996 - 2003 (Inactive Status)


EDITORIAL BOARD of EDITORS

2005 - 2018         American Journal of Forensic Medicine and Pathology
                    Philadelphia, Pennsylvania

COMMITTEE APPOINTMENTS

2006 - Present        Anatomic Pathology Assistant Program, Advisory Committee
                      Wayne State University, Detroit, Michigan




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2005 - Present       Michigan Child Death Review, Consultant
                     St. Clair County, Michigan

2004 - Present       Michigan Child Death Review, Consultant
                     Macomb County, Michigan

2002 - 2004          Pathology Residency Committee, University of South
                     Florida College of Medicine
                     Tampa, Florida

2002 - 2004          Florida Child Protection Team, Consultant
                     Hillsborough County, Florida

2002 - 2004          Disciplinary Hearing Officer
                     Hillsborough County, Florida

1997 - 2000          Admissions Committee, Rush Medical College
                     Chicago, Illinois

1997 - 2000          Surgical Procedure Review Committee, Rush
                     Presbyterian - St. Luke's Medical Center
                     Chicago, Illinois


AWARDS / ACHIEVEMENTS

May, 2009            Distinguished Service Award, Port Huron Police
                     Department

January, 2009        Featured Medical Examiner – Dead Men Talking
                     Three Part Documentary Series - MSNBC Cable Network


INVITED LECTURES / PANEL DISCUSSIONS / SEMINARS

•   Forensic Pathology and Investigation of Death: Michigan Society for
    Respiratory Care Spring Conference, Dearborn, Michigan, April 15, 2016

•   Role of the Medical Examiner: Gift of Life 6th Annual Transplant
    Symposium, Ann Arbor, Michigan, March 18, 2016
•   Forensic Investigation of Fire Deaths: St. Clair County Fire Training
    Seminar, Port Huron, Michigan, January 17, 2015

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 2, 2014




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•   Forensic Pathology and Scene Investigation: Detective Training Seminar,
    Mt. Clemens, Michigan, March 26, 2014

•   Child Deaths; Investigation Approach and Pitfalls: Macomb County Sheriff
    Department, Mt. Clemens, Michigan, October 25, 2013

•   Wound Pattern Recognition and Injury Analysis: Wayne State University
    Dept. of Fundamental and Applied Sciences, Detroit, Michigan, July 14,
    2013

•   Forensic Pathology – Application for First Responders, Training Series, St.
    Clair Shores Fire Department, St. Clair Shores, Michigan, May 28, 2013

•   Infant and Child Death Investigation: CTC Training Specialties, Clinton
    Township, Michigan, October 9, 2012

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 18, 2012

•   Asphyxiation, Rape, Homicide: 35th Annual Medicolegal Investigation of
    Death Seminar, Detroit, Michigan, May 4, 2012

•   Forensic Case Presentation: 35th Annual Medicolegal Investigation of Death
    Seminar, Detroit, Michigan, May 3, 2012

•   Death Investigation in Michigan-What All Residents Should Know: Grosse
    Pointe Crisis Club, February 16, 2012

•   Forensic Pathology and Duties of Medical Examiner: Wake-Up Wednesday,
    Grosse Pointe Yacht Club, Grosse Pointe, Michigan, December 14, 2011
•   Death Investigation, Injury Analysis and Evidence Collection for First
    Responders: Southwest Michigan 3rd Annual Botsford Hospital EMS Expo,
    Novi, Michigan, October 12, 2011

•   Asphyxiation, Rape, Homicide: 35th Annual Medicolegal Investigation of
    Death Seminar, Detroit, Michigan, May 6, 2011

•   Forensic Case Presentation: 35th Annual Medicolegal Investigation of Death
    Seminar, Detroit, Michigan, May 5, 2011

•   Wound Pattern Recognition and Injury Analysis: Wayne State University
    Dept. of Fundamental and Applied Sciences, Detroit, Michigan, July 14,
    2010




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•   Medical Examiner Scene Investigator (MESI) Training Program, St. Clair
    County: Course Director, Port Huron Hospital, Port Huron, Michigan, May,
    2010

•   Interpretation of Patterned Injuries: Sexual Assault Nurse Examiner (SANE)
    Seminar, Mt. Clemens, Michigan, April 28, 2010

•   Rape/Homicide and Collection of Evidence: 34th Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 21, 2010

•   Interpretation of Injuries Caused by Firearms, 34th Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 22, 2010

•   Forensic Pathology and Death Investigation, Science Seminar,
    Grosse Pointe North High School, Grosse Pointe, Michigan, December 17,
    2009

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 19, 2009

•   Forensic Pathology and Death Investigation, Science Seminar,
    Grosse Pointe North High School, Grosse Pointe, Michigan, May 20, 2009

•   Forensic Pathology and Medical Examiners: What the Public Needs to Know,
    4th Annual Crime Victims’ Rights Week Seminar, Clinton Township,
    Michigan, April 30, 2009

•   Interpretation of Injuries Caused by Firearms, 33rd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 24, 2009
•   Rape/Homicide and Collection of Evidence: 33rd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 24, 2009

•   Investigation of Deaths in Childhood - From SIDS to Shaking: 33rd Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 23,
    2009

•   Interpretation of Gunshot Wound and Sharp Force Injuries: Department of
    Pathology, Wayne State University School of Medicine, Detroit, Michigan,
    April 7, 2008

•   Introduction to Forensic Pathology-Wound Pattern Recognition: Basic
    Detective School, Oakland Police Academy, Auburn Hills, Michigan, March
    27, 2009


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•   Interpretation of Patterned Injuries: Sexual Assault Nurse Examiner (SANE)
    Seminar, Mt. Clemens, Michigan, January 13, 2009

•   Rape-Homicide and Collection/Interpretation of Evidence: 3rd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, January 7,
    2009

•   Interpretation of Injuries Caused by Firearms, 3rd Annual Medicolegal
    Investigation of Death Seminar, Las Vegas, Nevada, January 7, 2009

•   Investigating Deaths in Childhood – From SIDS to Shaking: 3rd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, January 6,
    2009

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 21, 2008

•   Insights into the Diagnosis of Cause of Death: Innovations in Emergency
    Medicine (Beaumont Hospital), Beverly Hills, Michigan, October 24, 2008

•   Forensic Death Investigation: Wayne State University Dept. of Fundamental
    and Applied Sciences, Detroit, Michigan, July 9, 2008

•   Investigation of Deaths in Childhood - From SIDS to Shaking: 32nd Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 23,
    2008

•   Rape/Homicide and Collection of Evidence: 32nd Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 25, 2008

•   Interpretation of Gunshot Wound and Sharp Force Injuries: Department of
    Pathology, Wayne State University School of Medicine, Detroit, Michigan,
    April 7, 2008

•   Investigation Drowning Deaths: Continuing Education, Sterling Heights
    Fire Department, Sterling Heights, Michigan, March 11, 2008

•   A Day in the Life of a Forensic Pathologist: American Academy of Forensic
    Sciences, Student Academy, 60th Anniversary Meeting, Washington DC,
    February 19, 2008




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•   Recognizing Child Abuse: What Schools and Educators Need to Know: Child
    Protection Law Workshop (Panel Discussion), Macomb Intermediate School
    District, Clinton Township, Michigan, February 8, 2008

•   Rape-Homicide and Collection/Interpretation of Evidence: 2nd Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, December
    7, 2007

•   Case Review in Drowning Deaths and Bodies Recovered from Water: 2nd
    Annual Medicolegal Investigation of Death Seminar, Las Vegas, Nevada,
    December 6, 2007

•   Investigation of Deaths in Childhood: From SIDS to Shaking: Pediatric
    Pathology Department, Children’s Hospital of Michigan, Detroit, Michigan,
    November 30, 2007

•   Forensic Pathology, Toxicology and Death Investigation: Year II Pathology
    Course, Wayne State University School of Medicine, Detroit, Michigan,
    November 16, 2007

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, September 30, 2007

•   Wound Pattern Recognition: An Introduction to Forensic Pathology and
    Injury Analysis: Wayne State University Dept. of Fundamental and Applied
    Sciences, Detroit, Michigan, July 18, 2007

•   Investigation and Analysis of Firearm Wounds: 31st Annual Medicolegal
    Investigation of Death Seminar, Detroit, Michigan, April 27, 2007

•   Introduction to Forensic Pathology: Department of Pathology, Wayne State
    University, Detroit, Michigan, January 26, 2007

•   Investigation of Deaths in Childhood: From SIDS to Shaking (Part 2):
    Pediatric Pathology Department, Children’s Hospital of Michigan, Detroit,
    Michigan, December 15, 2006

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 1st Annual
    Medicolegal Investigation of Death Seminar, Las Vegas, Nevada, November
    30, 2006

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 1st
    Annual Medicolegal Investigation of Death Seminar, Las Vegas, Nevada,
    November 30, 2006


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•   Investigation of Deaths in Childhood: From SIDS to Shaking (Part 1):
    Pediatric Pathology Department, Children’s Hospital of Michigan, Detroit,
    Michigan, November 17, 2006

•   Injury Analysis and Wound Pattern Recognition: Forensic Nurse Examiners
    Conference, Warren, Michigan, November 2, 2006

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, October 1, 2006

•   Wound Pattern Recognition: An Introduction to Forensic Pathology and
    Injury Analysis: Wayne State University, Department of Fundamental and
    Applied Sciences, Detroit, Michigan, June 27, 2006

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, May 31, 2006

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 30th Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 28,
    2006

•   Wound Pattern Recognition and Analysis: National Legal Aid and Defender
    Association: Life in the Balance, Philadelphia, Pennsylvania, March 5, 2006

•   Forensic Case Consultation – Panel Discussion: National Legal Aid and
    Defender Association: Life in the Balance, Philadelphia, Pennsylvania,
    March 5, 2006

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, Philadelphia, Pennsylvania,
    March 6, 2006

•   Wound Identification and Pattered Injuries: Sexual Assault Nurse Examiner
    Conference, Macomb County Community College, January 18, 2006

•   Gunshot Wounds: What Do They Tell Us? Georgia Public Defender
    Standards Council, Forensic Science Seminar, Atlanta, Georgia, November
    9, 2005

•   Drowning and Bodies Recovered from Water; Solving the Puzzle: Michigan
    Association of Medical Examiners, Annual Meeting, Mt. Pleasant, Michigan,
    October 30, 2005




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•   Death Investigation and Wound Pattern Analysis: Michigan Police Academy
    Detective Training, Oakland County Community College, October 27, 2005

•   Postmortem Changes: Recognizing Injury v. Artifact: 12th Annual Medicolegal
    Death Investigation Conference, Collinsville, Illinois, August 17, 2005

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 12th
    Annual Medicolegal Death Investigation Conference, Collinsville, Illinois,
    August 17, 2005

•   Interpretation of Gunshot Wounds and Sharp Force Injuries. 12th Annual
    Medicolegal Death Investigation Conference, Collinsville, Illinois, August 17,
    2005

•   Wound Pattern Recognition: An Introduction to Injury Analysis: Wayne State
    University Dept. of Fundamental and Applied Sciences, Detroit, Michigan,
    June 28, 2005

•   Child Abuse: Interpretation of Injuries and Distinction from Natural and
    Accidental Deaths: Pediatric Sexual Assault Nurse Examiner Training
    Seminar, Fraser, Michigan, May 19, 2005

•   Analysis of Gunshot Wounds – Wound Pattern Recognition: 29th Annual
    Medicolegal Investigation of Death Seminar, Detroit, Michigan, April 21,
    2005

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 29th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 20, 2005

•   Interpretation of Forensic Evidence: National Legal Aid and Defender
    Association: Life in the Balance, New Orleans, Louisiana, March 20, 2005

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, New Orleans, Louisiana, March
    20, 2005
•   Forensic Case Consultation: National Legal Aid and Defender Association:
    Life in the Balance, New Orleans, Louisiana, March 20, 2005

•   Forensic Case Analysis: St. Clair County, Medical Examiner Scene
    Investigator Conference, Marysville, Michigan, February 22, 2005

•   Injury Analysis and Wound Pattern Recognition: Forensic Nurse Examiners
    Conference, Warren, Michigan, January 17, 2005


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•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, October 10, 2004

•   Interpretation of Gunshot and Shotgun Wounds: St. Clair County Forensic
    Training Seminar, Marysville, Michigan, October 7, 2004

•   Thermal Injuries and Bodies Recovered From Water: St. Clair County
    Forensic Training Seminar, Marysville, Michigan, October 7, 2004

•   Investigation of Deaths in Childhood: St. Clair County Forensic Training
    Seminar, Marysville, Michigan, October 6, 2004

•   Forensic Pathology and Interpretation of Wound Patterns: 11th Annual
    International Homicide Investigators Association, Clearwater, Florida,
    August 2, 2004

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, June 6, 2004

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 28th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 23, 2004

•   Drowning and Bodies In Water: University of South Florida, Department of
    Pathology, Tampa, Florida, April 15, 2004

•   Interpretation of Blunt Trauma and Sharp Force Injuries: 18th Annual
    Medicolegal Investigation of Death Seminar, Morgantown, West Virginia,
    March 27, 2004

•   Interpretation of Injuries due to Firearms: 18th Annual Medicolegal
    Investigation of Death Seminar, Morgantown, West Virginia, March 27,
    2004

•   Understanding the State’s Pathology Witness: National Legal Aid and
    Defender Association: Life in the Balance, Memphis, Tennessee, March 15,
    2004

•   Evaluating Gunshot Wounds & Sharp Force Injuries: National Legal Aid and
    Defender Association: Life in the Balance, Memphis, Tennessee, March 14,
    2004




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•   Forensic Evidence Collection and Interpretation: The Role of the Medical
    Examiner: Tampa Bay Area Chiefs of Police, Annual Forensic Science
    Seminar, Tampa, Florida, March 5, 2004

•   Injury Pattern Recognition and Interpretation: Death is Different, Florida
    Association of Criminal Defense Attorneys, 10th Annual Death Penalty
    Seminar, Palm Beach, Florida, February 21, 2004

•   Medicolegal Aspects of Death Investigation: St. Petersburg College,
    Southeastern Public Safety Institute, St. Petersburg, Florida, October 22,
    2003

•   Forensic Pathology and Death Investigation: University of South Florida,
    Medical Student Colloquium, Tampa, Florida, October 16, 2003

•   Interpretation of Gunshot Wounds: University of South Florida, Department
    of Pathology, Tampa, Florida, September 18, 2003

•   Forensic Pathology for the Boards: Osler Institute, Pathology Board
    Examination Review Course, Tampa, Florida, May 25, 2003

•   Investigation of Drowning Deaths and Bodies Recovered from Water: 27th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 4, 2003

•   Interpretation of the Autopsy Report - Understanding the State’s Pathology
    Witness: National Legal Aid and Defender Association: Life in the Balance,
    Austin, Texas, March 18, 2003
•   Evaluating Gunshot Wounds and Sharp Force Injuries: National Legal Aid
    and Defender Association: Life in the Balance, Austin, Texas, March 18,
    2003

•   Drowning and Bodies In Water: University of South Florida, Department of
    Pathology, Tampa, Florida, March 13, 2003

•   Gunshot Wound Evaluation: University of South Florida, Department of
    Pathology, Tampa, Florida, October 10, 2002

•   Patterns of Injury in Trauma: 6th Annual Trauma Symposium, Tampa,
    Florida, May 17, 2002

•   Introduction to Forensic Pathology: National Defender Investigator
    Association, Portland, Oregon, April 18, 2002




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•   Investigation of Drowning Deaths and Bodies Recovered from Water: 26th
    Annual Medicolegal Investigation of Death Seminar, Detroit, Michigan,
    April 8, 2002


SCIENTIFIC PUBICATIONS

BOOKS

•   Reddy V, David O, Spitz DJ, Haber MH. Gattuso’s Differential Diagnosis in
    Surgical Pathology, 4th Edition. Elsevier, Inc. New York, New York, 2022.

•   Gattuso P. Reddy V, David O, Spitz DJ, Haber MH. Differential Diagnosis
    in Surgical Pathology, 3rd Edition. Elsevier, Inc. New York, New York, 2015.

•   Spitz WU, Spitz DJ. Medicolegal Investigation of Death, 4th Edition. Charles
    C. Thomas, Springfield, Illinois, 2006.

•   Gattuso P. Reddy V, David O, Spitz DJ, Haber MH. Differential Diagnosis
    in Surgical Pathology, 2nd Edition. W.B. Saunders Company, New York, New
    York, 2010.

•   Haber MH, Gattuso P, Spitz DJ, David O. Differential Diagnosis in Surgical
    Pathology. W.B. Saunders Company, New York, New York, 2002.


BOOK CHAPTERS

•   Diegel R, Henry T, Spitz DJ. Wound Identification and Documentation in
    Atlas of Sexual Violence. Elsevier, St. Louis, Missouri, 2013.

•   Spitz DJ. Investigation of Bodies in Water in Spitz and Fisher’s Medicolegal
    Investigation of Death, 4th Edition. Charles C. Thomas, Springfield, Illinois,
    2006.

•   Platt MS, Spitz DJ, Spitz WU. Investigation of Deaths in Childhood: The
    Abused Child and Adolescent in Spitz and Fisher’s Medicolegal Investigation
    of Death, 4th Edition. Charles C. Thomas, Springfield, Illinois, 2006.

•   Spitz WU, Spitz DJ. Investigation of Deaths in Childhood: Feticide and
    Neonaticide in Spitz and Fisher’s Medicolegal Investigation of Death, 4th
    Edition. Charles C. Thomas, Springfield, Illinois, 2006.




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•   Spitz DJ. History and Development of Forensic Medicine and Pathology in
    Spitz and Fisher’s Medicolegal Investigation of Death, 4th Edition. Charles C.
    Thomas, Springfield, Illinois, 2006.

•   Spitz DJ. Identification of Human Remains in Spitz and Fisher’s
    Medicolegal Investigation of Death, 4th Edition. Charles C. Thomas,
    Springfield, Illinois, 2006.

•   Spitz DJ, Yocom J, Reddy VB. Heart, Pericardium and Blood Vessels in
    Differential Diagnosis in Surgical Pathology. W.B. Saunders Company, New
    York, New York, 2002.

•   Spitz DJ, Gattuso P. Ureter, Urinary Bladder and Kidney in Differential
    Diagnosis in Surgical Pathology. W.B. Saunders Company, New York, New
    York, 2002.

•   Spitz DJ, Cochran EJ. Central Nervous System in Differential Diagnosis in
    Surgical Pathology. W.B. Saunders Company, New York, New York, 2002.

•   Pins MR, Betlej TM, Dysico G, Spitz DJ. Male Genitourinary System in
    Differential Diagnosis in Surgical Pathology. W.B. Saunders Company, New
    York, New York, 2002.

•   Spitz DJ, Gattuso P. Breast in Differential Diagnosis in Surgical Pathology.
    W.B. Saunders Company, New York, New York, 2002.

•   Kapur S, Spitz DJ, Reddy VB. Soft Tissue in Differential Diagnosis in
    Surgical Pathology. W.B. Saunders Company, New York, New York, 2002.

•   Spitz DJ, Gattuso P. Adrenal Gland in Differential Diagnosis in Surgical
    Pathology. W.B. Saunders Company, New York, New York, 2002.


ORIGINAL ARTICLES

•   Mateju E, Duchanova S, Kovac P, Moravansky N, Spitz DJ. Fatal Case of
    Rapunzel Syndrome in Neglected Child. Forensic Science International,
    190:5-7, July 2009.

•   Kovac P, Moravansky N, Spitz DJ. Child Abuse and Neglect, Minimum for
    Primary Care Pediatrician. Practical Pediatrics, 1:49-51, January 2009.




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•   Duer WC, Spitz DJ, McFarland, S. Relationships between Concentrations of
    Cocaine Hydrolysates in Peripheral Blood, Heart Blood, Vitreous Humor and
    Urine. Journal of Forensic Sciences, (51)2:421-425, March 2006.

•   Spitz DJ, Prator PC, Stratton JE, Labiste L, Augenstein JS, Mackinnon J,
    Phillips J, Singer M, Perdeck E. Neck and Cervical Spine Injuries Caused by
    Automatic Two-Point Shoulder Restraints: An Analysis of 4 Cases. Journal
    of Forensic Sciences, 50(1):159-163, January 2005.

•   Spitz DJ, Ouban A. Meningitis Following Gunshot Wound of the Neck.
    Journal of Forensic Sciences, 48(6):1369-1370, November 2003.

•   Spitz DJ. An Unusual Death in an Asthmatic. The American Journal of
    Forensic Medicine and Pathology, 24(3):271-2, September 2003.

•   Spitz DJ, Adams VI. Medical Investigation of Pedestrian Deaths. American
    Society of Clinical Pathologists, Forensic Pathology Check Sample, Vol. 44,
    No. 2, ISSN-1056-5922, May 2002.

•   Spitz DJ. Drowning and Near-Drowning: Pathophysiology Associated with
    Freshwater and Saltwater Environments. American Society of Clinical
    Pathologists, Forensic Pathology Check Sample, Vol. 43, No. 3, ISSN-1056-
    5922, October 2001.

•   Hertz G, Reddy VB, Green L, Spitz DJ, Massarani-Wafai R, Selvaggi SM,
    Kluskens L, Gattuso P. Fine Needle Aspiration of Liver Masses: A
    Multicenter Study of 602 Radiologically Guided FNA. Diagnostic
    Cytopathology, 23(5):326-328, November 2000.

•   Orucevic A, Reddy VB, Bakhos R, Selvaggi SM, Green L, Spitz DJ,
    Bitterman P, Gattuso P. Fine Needle Aspiration of Extranodal and
    Extramedullary Hematopoietic Malignancies. Diagnostic Cytopathology,
    23(5):318-321, November 2000.

•   Betlej TM, Spitz DJ, DeCresce RP, Webster RA, Geller J, Maturen A.
    Performance of the Nichols QuiCk Intraoperative Intact Parathyroid
    Hormone Assay in Clinical Practice. Clinical Chemistry, 46(6):469, July
    2000.

•   Spitz DJ, Reddy VB, Selvaggi SM, Kluskens L, Green L, Gattuso P. Fine
    Needle Aspiration of Scalp Lesions. Diagnostic Cytopathology, 23(1):35-38,
    July 2000.




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•   Spitz DJ, Reddy VB, Kluskens L, Cohen J, Gattuso P. Fine Needle
    Aspiration of Intra and Extraocular Masses. Diagnostic Cytopathology,
    22(3):199-200, March 2000.

•   Dowlat K, Fan M, Bloom KJ, Spitz DJ, Patel S, Snider H. Occult Metastasis
    in the Sentinel Lymph Nodes of Patients with Early Breast Carcinoma.
    Cancer, 86(6):990-996, September 1999.

•   Gattuso P, Ramzy I, Truong LD, Lanksford KL, Green L, Kluskens L, Spitz
    DJ, Reddy VB. Utilization of Fine Needle Aspiration in the Diagnosis of
    Metastatic Tumors to the Kidney. Diagnostic Cytopathology, 21(1):35-38,
    July 1999.

•   Spitz DJ, Maturen A, Cho BL, Webster RA, Betlej TM, DeCresce RP.
    Performance of the Abbott AxSYM Troponin I Assay and Comparison with
    CKMB in Clinical Practice. Clinical Chemistry, 45(6):501, June 1999.

•   Spitz DJ, Reddy VB, Gattuso P. Fine Needle Aspiration of
    Pseudoangiomatous Stromal Hyperplasia of the Breast. Diagnostic
    Cytopathology, 20(5):323-324, May 1999.

•   Spitz DJ, Reddy VB, Gattuso P. Congenital (Infantile) Myofibromatosis and
    the Approach to the Differential Diagnosis of Soft Tissue Tumors in
    Children. American Society of Clinical Pathologists, Surgical Pathology
    Check Sample, Vol. 27, No. 3, ISSN-1091 8655, May 1999.

•   Spitz DJ. Unrecognized Fatal Liver Injury Caused by a Bicycle Handlebar.
    American Journal of Emergency Medicine, 17:3, 244, May 1999.

•   Spitz DJ, Spitz WU. Killer Pop Machines. Journal of Forensic Sciences,
    35(2):490-492, February 1990.


ABSTRACTS

•   Moravansky N, Spitz DJ, Kovac P, Garala P, Holla B. Child Abuse and
    Neglect Syndrome: Aspects of Forensic Investigation. 8th Annual Symposium
    on Forensic Sciences, Samorin-Cilistov, Slovak Republic, September, 2007.

•   Gavala P, Mlynar J. Novomesky F, Morovansky N, Spitz DJ, Kovac P,
    Juricek L. Digital Atlas of Forensic Medicine and Science. 47th Annual
    Conference of Forensic Medicine. Modra-Harmonia, Slovak Republic, May
    2007.




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•   Moravansky N, Spitz DJ, Kovac P, Garala P, Holla B. Child Abuse and
    Neglect Syndrome: Aspects of Forensic Investigation. 47th Annual Conference
    of Forensic Medicine. Modra-Harmonia, Slovak Republic, May 2007.

•   Bloom, KJ, Anderson J, Assad L, Spitz DJ, Fan M, Dowlat K. Complete
    Evaluation of Sentinel Lymph Nodes at 0.25 mm Intervals Utilizing H&E
    and Cytokeratin Immunohistochemistry. United States and Canadian
    Academy of Pathology, New Orleans, Louisiana, March 2001.

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•   American Academy of Forensic Sciences, 2001 -
•   National Association of Medical Examiners, 2001 -
•   Michigan Association of Medical Examiners, 2004 -
•   American Society of Clinical Pathologists, 2002 - 2010


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•   College of American Pathologists, 1998 - 2005
•   Florida Association of Medical Examiners, 2001 - 2005
•   American Medical Association, 2001 - 2005
•   Florida Medical Association, 2001 - 2004
•   Hillsborough County Medical Association, 2001 - 2004
•   Florida West Coast Association of Pathologists, 2002 - 2004




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